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                      UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ART AKIANE LLC,
               Plaintiff,
                            v.                       Case No. 19-cv-02952
ART & SOULWORKS LLC,                                 Judge Edmond E. Chang
CAROL CORNELIUSON,
CARPENTREE, LLC, and VIRGINIA HOBSON,                Mag. Judge Jeffrey Cole
               Defendants.

ART & SOULWORKS LLC and CAROLYNE
CORNELIUSON,
               Counter-Claimants,
                            v.
ART AKIANE LLC, AKIANE ART GALLERY,
LLC, and AKIANE KRAMARIK,
              Counter-Defendants.

    JOINT EXPEDITED MOTION TO EXTEND REMAINING CASE DEADLINES

       Pursuant to the Court’s February 23, 2022 directive, Plaintiff/Counter-Defendant Art

Akiane LLC, Counter-Defendants Art Akiane Art Gallery and Akiane Kramarik, and

Defendants/Counter-Claimants Art & SoulWorks LLC and Carol Corneliuson (collectively,

"ASW"), hereby file this Joint Expedited Motion to Extend Remaining Case Deadlines by 14 days.

       Fact discovery in this case is currently scheduled to close on February 25, 2022. To date,

the parties have taken ten (10) depositions—the vast majority of which were conducted over the

course of two days each. The Parties JOINTLY seek an extension of all of case deadlines by 14

days, as reflected in the Proposed Scheduling Order below.

       Before former Defendants Carpentree, LLC and Virginia Hobson were dismissed from this

case pursuant to a settlement with Plaintiff, both Plaintiff and Defendants noticed the 30(b)(6)

deposition of Carpentree. Additionally, Plaintiff also noticed the deposition of Virginia Hobson.

       The parties have been unable to depose Carpentree and Ms. Hobson due to a number of
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unforeseen circumstances. First, Carpentree canceled and delayed its prior depositions because its

original 30(b)(6) designee had serious health issues, rendering him unable to testify. This required

Carpentree to identify a new corporate designee and prepare the new designee to testify regarding

the noticed deposition topics—a process that took time. Second, the new designee was unavailable

to give testimony for several weeks. Third, Carpentree and Ms. Hobson recently switched counsel,

which caused yet further delays. Fourth, there have been scheduling conflicts for both counsel and

the witness(es).

       In addition, Carpentree’s former CFO, Craig Rinas, who was noticed in his individual

capacity, completed the portion of the deposition where Art Akiane questioned him, but was unable

to continue for ASW’s questions because he was ill.

       In short, the parties have not been able to depose Carpentree and Ms. Hobson before the

fact discovery deadline and ASW has not been able to complete Mr. Rinas’ deposition. The parties

and Carpentree have are able to take these depositions the week of March 21, 2022 and for Mr.

Rinas, at a date convenient for him in light of his health. Because the deadline to serve affirmative

expert disclosures is currently March 25, 2022, the parties respectfully request a 14-day extension

of the expert deadlines, and an extension of the fact discovery deadline solely for purpose of taking

the Carpentree Rule 30(b)(6) deposition, Ms. Hobson’s individual deposition and ASW’s portion

of the Craig Rina deposition.

       For the above reasons, the parties submit the attached JOINT Proposed Scheduling Order

for the Court’s consideration and approval.




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Dated: February 25, 2022               Respectfully submitted,

                                       By: /s/ Adam Wolek
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                                              Counsel for Plaintiff and Counter-Defendants



Dated: February 25, 2022               Respectfully submitted,

                                       By: /s/ Nicole Auerbach
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                                              Counsel for Defendants/Counter-Claimants
                                              Art & SoulWorks LLC and Carolyne
                                              Corneliuson




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                               CERTIFICATE OF SERVICE

       I certify that, on February 25, 2022, I filed the foregoing JOINT Expedited Motion to

Extend Remaining Case Deadlines with the Clerk of Court via CM/ECF, which provided notice of

same to all parties and/or counsel who have made an appearance in this case.


Dated: February 25, 2022                     By: /s/ Adam Wolek
                                                    Adam Wolek




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                         UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

ART AKIANE LLC,
                  Plaintiff,
                               v.                        Case No. 19-cv-02952
 ART & SOULWORKS LLC,                                    Judge Edmond E. Chang
 CAROL CORNELIUSON,
 CARPENTREE, LLC, and VIRGINIA HOBSON,                   Mag. Judge Jeffrey Cole
                  Defendants.

 ART & SOULWORKS and CAROLYNE
 CORNELIUSON,
                  Counter-Claimants,
                               v.
 ART AKIANE LLC, AKIANE ART GALLERY,
 LLC, and AKIANE KRAMARIK,
                  Counter-Defendants.

                               JOINT PROPOSED SCHEDULING ORDER

           AND NOW, this            day of                           , 2022, the remaining case

 deadlines in the above-captioned matter are set as follows:

  March 11, 2022         Deadline to Complete Fact Discovery
  April 8, 2022          Deadline to Serve Affirmative Expert Disclosures
  May 6, 2022            Deadline to Complete Depositions of Affirmative Experts
  May 27, 2022           Deadline to Serve Rebuttal Expert Disclosures
  June 17, 2022          Deadline to Complete Depositions of Rebuttal Experts


          Additionally, the Rule 30(b)(6) deposition of Carpentree, Inc. and the deposition of Virginia

Hobson shall be deemed to have occurred within the fact discovery period.

           IT IS SO ORDERED.


 Dated:
                                                        THE HONORABLE JEFFREY COLE
                                                        UNITED STATES MAGISTRATE JUDGE
